      Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 1 of 24




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     2015 Fresno Sheriffs Gun Range Explosion,
10   2015 Butte Fire, 2017 North Bay Fires, and the
     2018 Camp Fire
11
                                  UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,                       No. C 14-00175-WHA
14
                    Plaintiff,                        VICTIMS' RESPONSE TO SECOND
15                                                    ORDER TO SHOW CAUSE WHY
             V.                                       PG&E'S CONDITIONS OF
16                                                    PROBATION SHOULD NOT BE
      PACIFIC GAS AND ELECTRIC                        MODIFIED (DOC. # 1027)
17   COMPANY,
                                                      Date: April 2, 2019
18                  Defendant.                        Time: 8:00 a.m.
                                                      Judge: Hon. William H. AIsup
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Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 2 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 3 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 4 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 5 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 6 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 7 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 8 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 9 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 10 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 11 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 12 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 13 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 14 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 15 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 16 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 17 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 18 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 19 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 20 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 21 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 22 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 23 of 24
Case 3:14-cr-00175-WHA Document 1035 Filed 03/22/19 Page 24 of 24
